   Case 2:05-cv-04182-SRD-JCW Document 21218-1 Filed 08/13/13 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

IN RE: KATRINA CANAL BREACHES *                 CIVIL ACTION NO. 05-4182
CONSOLIDATED LITIGATION                 *
                                        *       SECTION “K”(2)
PERTAINS TO:         C. Abadie, 06-5164 *
                                        *       JUDGE DUVAL
This pleading applies only to the claim *
of Sylena R. Davis regarding            *       MAG. WILKINSON
7737-39 Haney Drive                     *
New Orleans, LA 70128                   *
******************************************************************************
                                        ORDER

        CONSIDERING THE FOREGOING:

        IT IS HEREBY ORDERED that the Clerk is authorized and directed to draw a check on

the funds on deposit in the registry of this court in the principal amount of $4,127.81 plus all interest

earned less the assessment fee for the administration of funds, payable to Bruno & Bruno, LLP at

855 Baronne Street, New Orleans, LA 70113, and mail or deliver the check to Bruno & Bruno, LLP

at 855 Baronne Street, New Orleans, LA 70113.

        IT IS FURTHER ORDERED that the Clerk is authorized and directed to draw a check on

the funds on deposit in the registry of this court in the principal amount of $6,191.71 plus all interest

earned less the assessment fee for the administration of funds, payable to the Louisiana Division of

Administration, Disaster Recovery Unit-Attention Subrogation, Post Office Box 94095, Baton

Rouge, LA 70804, and mail or deliver the check to Louisiana Division of Administration, Disaster

Recovery Unit-Attention Subrogation, Attention: Patrick Keller at Post Office Box 94095, Baton

Rouge, LA 70804.

                New Orleans, Louisiana, this _________ day of __________, 2013.

                                                        ____________________________________
                                                        UNITED STATES DISTRICT JUDGE
